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                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF MINNESOTA
                                  MINNEAPOLIS DIVISION

In Re:
                                                                              Chapter 11
Donald Andrew Driggs                                                          Case No. 13-42355

                                Debtor.


                            OBJECTION TO THIRD MODIFIED PLAN


TO: Donald Andrew Driggs and Entities as Specified in Local Rule 3020-1(b),



         JPMorgan Chase Bank, National Association, successor by merger to Chase Home

Finance LLC successor by merger to Chase Manhattan Mortgage Corp., (“Chase”) hereby

objects to the confirmation of the Debtor’s Third Modified Plan.


                                          INTRODUCTION

         Chase is the holder of a mortgage encumbering the property located at 4400 Deering

Island, Orono, MN 55364 and legally described as:

         Government Lot 9, Section 18, Township 117 North, Range 23 West of the Fifth Principal
         Meridian, Hennepin County, Minnesota (the “Mortgage”).

The mortgage is dated March 20, 2003 and was recorded in the office of the Hennepin County

Registrar of Titles on April 22, 2003 as Document No. 3723337 (the “Chase Mortgage”). (Chase

Aff. ¶ 12, Exhibit C.) Chase filed a proof of claim indicating that the total amount due and owing

under the note and the Chase Mortgage was $858,459.21. (Proof of Claim 13.)
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                                         OBJECTION

       1.      The Court has jurisdiction over this Objection pursuant to 11 U.S.C. §§ 1128(b),

1129 and Federal Rules of Bankruptcy Procedure 3020.


       2.      Chase objects to the debtor’s Third Modified Plan of Reorganization as it does

not meet the requirements of 11 U.S.C. § 1129(b). More specifically, Chase objects to the plan

treatment as follows:

               a. The value of the Property is $890,000.00. (Second Dobie Decl. ¶ 1.) The

                  debtor provides a value of $490,000.00. (Third Mod. Plan, ECF No. 107,

                  Class 5.) As the total payoff of the Chase Mortgage is now $911,420.34

                  (Chase Aff. ¶ 7), the secured claim of Chase should be $890,000.00.

               b. The interest rate on the loan is 5.5 percent per annum. (Chase Aff. ¶¶ 8, 12,

                  Exhibit C.) The debtor provides the interest rate will be 4.25 percent per

                  annum. (Third Mod. Plan, ECF No. 107, Class 5.)

               c. The proposed plan provides that the loan will be reamortized over 30 years

                  and a balloon payment will be made on March 20, 2033. (Third Mod. Plan,

                  ECF No. 107, Class 5.)

       3.      Chase further objects to the plan because the plan was not proposed in good faith

in violation of 11 U.S.C § 1129(a)(3).

       4.      Chase further objects to the plan because the plan is not feasible as required by 11

U.S.C. § 1129(a)(11).




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        5.         Chase further objects to the plan because the plan does not meet the best interests

test of 11 U.S.C. § 1129(a)(7).

        6.         Chase further objects to the plan because upon information and belief there is no

impaired accepting class as required by 11 U.S.C. § 1129(a)(10).

        7.         Chase further objects to the plan because the debtor has not devoted all of his

disposable income as required by 11 U.S.C. § 1129(a)(15).

        8.         Chase further objects because there is no provision for payment of property taxes

and insurance going forward.

        9.         Chase further objects because there is no provision for payment of the

administrative expense priority claims for taxes and insurance payments incurred after the filing

of the petition.

        10.        Chase further objects to the plan for its unsecured claim (if any) because the plan

violates the absolute priority rule of 11 U.S.C. § 1129(b)(2)(B)(ii).



                                             ARGUMENT

I.      Chase believes its secured claim should be $890,000 and objects to the cramdown of
        its secured claim.

        11 U.S.C. § 506. Section 506(a)(1) of the Bankruptcy Code divides creditors’ claims

against a debtor into “secured” and “unsecured” claims based on the value of the underlying

collateral. Harmon v. United States, 101 F.3d 574, 578 (8th Cir. 1996). Under § 506(a)(1), an

allowed claim secured by a lien on the debtor's property “is a secured claim to the extent of the

value of [the] creditor’s interest in the estate’s interest in such property . . . and is an unsecured




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claim to the extent that the value of [the] creditor's interest . . . is less than the amount of such

allowed claim.” 11 U.S.C. § 506(a)(1). Chase believes the value of the 4400 Deering Island

property is $890,000.00. (Second Dobie Decl. ¶ 1.) In the debtor’s 2008 chapter 11 case, the

debtor first asserted that the 4400 Deering Island property was valued at $2,200,000.00. (Dobie

Decl. ¶ 10.) Later, the debtor asserted and the Court agreed that the property was valued at

$800,000. (Dobie Decl. ¶ 14.) The debtor has failed to provide the Court with any admissible

evidence that the 4400 Deering Island property is now valued at $490,000.00 as the plan now

suggests. As such, the Court should not confirm the plan.

       11 U.S.C. § 1129(b)(2). The first cramdown requirement of 11 U.S.C.

§ 1129(b)(2)(A)(i)(I) requires that the secured creditor retain its lien. The plan does not

specifically provide that Chase retains its lien, so Chase believes the plan must be amended to

clarify that Chase’s lien will be retained.

       The second cramdown requirement in Section 1129(b)(2)(A)(i)(II) requires a debtor’s

plan to provide the secured creditor with deferred payments having a present value in the full

amount of the creditor’s secured claim. The debtor fails to comply with Till v. SCS Credit Corp.,

541 U.S. 465 (2004) in determining the proposed interest rate of the secured claim. Till provides

that the starting point is the national prime rate of interest, and then the Court should add a risk

adjustment. Id. at 479. The appropriate size of the risk adjustment depends on such factors as (1)

the circumstances of the bankruptcy estate; (2) the nature of the security; and (3) the duration

and feasibility of the reorganization plan. Id. The prime rate at the time of filing was 3.25

percent, and Chase believes that the contractual rate of 5.5 percent per annum adequately

accounts for the risk of this loan given the debtor’s prior bankruptcy and credit history.




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       The loan is due for the June 1, 2009, payment and thereafter. (Chase Aff. ¶ 9.) In the

debtor’s 2008 bankruptcy case, the debtor’s confirmed plan provided an interest rate of 5.5

percent. (Dobie Decl. ¶ 15, Exhibit J.) The prime rate at the time of the 2008 petition and

confirmation was 3.25 percent. For six years, the debtor has been unable to reorganize and

produce rents sufficient to make the current payments. The debtor’s plan of reorganization is not

feasible as noted infra, § III. Thus, the contractual rate adequately accounts for the risk of default

and Chase requests that the Court sustain Chase’s objection to the interest rate cramdown.

II.    The plan was not proposed in good faith in violation of 11 U.S.C § 1129(a)(3).

       Section 1129(a)(3) requires that the plan was proposed in good faith. Prior to the debtor

filing the present bankruptcy petition, Chase had a foreclosure sale of the Property scheduled for

May 8, 2013 at 11:00AM. (Dobie Decl. ¶ 4.) The debtor filed the present petition in the morning

on May 8, 2013, to stop the sale. In the initial Disclosure Statement, the debtor acknowledged

the petition was filed to stop the sale. (ECF No. 33, at 6.) At least two other foreclosure sales

were pending for other properties at this time, and the debtor was playing games and using

Minnesota Statute section 580.07, the postponement statute, in order to delay the foreclosures of

the other two properties. CitiMortgage, Inc. had scheduled a foreclosure sale for the property

located at 3990 Sunset Drive, Spring Park, Minnesota for January 22, 2013. (Dobie Decl. ¶ 5,

Ex. A.) On January 4, 2013, the debtor executed and recorded an Affidavit of Postponement

pursuant to Minnesota Statutes § 580.07 to postpone the sale five months. (Id.) In that affidavit,

the debtor swore that the property was classified as a homestead under Minnesota Statutes

section 273.124, and that he occupied the property as his homestead. (Id.) Less than three weeks

later, on January 23, 2013, the debtor executed another Affidavit of Postponement, swearing that




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the property located at 2925 Casco Point Road, Wayzata, Minnesota, was classified as

homestead under section 273.124, and that he occupied this property as his homestead, in order

to postpone the February 7, 2013, foreclosure sale scheduled for that property. (Dobie Decl. ¶ 6.)

The debtor made false statements in each affidavit, under oath, regarding the homestead status

and his occupancy at each property.

       Neither property was classified as homestead for tax purposes under Minnesota Statutes

section 273.124. (Dobie Decl. ¶¶ 7-8, Exs. C-D.) Thus, those statements were false and neither

property was eligible for a five-month postponement by the debtor. Furthermore, the debtor has

acknowledged that he lived at 3990 Sunset Drive, Apartment no. 3, Spring Park, Minnesota from

November 2012 to the present. (ECF No. 11, at 32.) Thus, his sworn statement regarding his

occupancy of 2925 Casco Point Road, Wayzata, Minnesota, on January 23, 2013, in the

Affidavit of Postponement was false.

       In December 2012, the debtor granted a security interest to an insider, his brother, A.J.

Driggs, on “various boats” for a loan of $25,000, at 6% interest. (Third Am. Discl. Stat., ECF

No. 106.) No proof of claim has been filed by A.J. Driggs. The boats have a value of $32,450

according to the debtor’s Third Amended Disclosure Statement. (Id.) In the prior 2008 case, the

debtor scheduled the value of one boat alone at $45,000. (Dobie Decl. ¶ 10, Case No. 08-41984,

ECF No. 10, Schedule B.) This transaction is highly suspicious at best, and at worst, appears to

be part of a scheme to protect the boats from creditors.

       Finally, the debtor provides a yearly expense of $4800 for a boat slip on 3990 Sunset

Drive in his “All Properties Total Projected Income & Expenses and Cash Flow” and the

expenses for the 4400 Deering Island Property. In the income statement for the 3900 Sunset




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Drive property, the debtor includes $700 in income from boat slips. The reason for the boat slip

expense is not clear because he owns both properties. Because it appears as an expense on the

All Properties calculation, it appears the debtor is using it to inflate his expenses.

       The debtor’s prior bankruptcy petition was filed on April 24, 2008 and was dismissed on

June 19, 2012. The creditors involved in that case gave the debtor ample time to reorganize.

Now, after several years, interest and holding costs have depleted all of the equity in Chase’s

claim. Only now, does the debtor assert that the Property is worth substantially less than what is

owed. After several creditors decided to foreclose, the debtor began playing games with the

Minnesota postponement statute, and filed the present petition on May 8, 2013, the morning of

Chase’s foreclosure sale, in order to stop the sale.

III.   Chase objects to confirmation because the plan is not feasible.

       Chase objects to the plan because the plan is not feasible. Chase believes the plan is

likely to be followed by a liquidation and further reorganization and the plan is not feasible as

required by 11 U.S.C. § 1129(a)(11). Past performance is a generally accepted factor to consider

in determining the reliability of future projections. In re Am. Consol. Transp., 470 B.R. 478, 490

(Bankr. N.D. Ill. 2012). The Tenth Circuit B.A.P. has stated: “A glaring discrepancy between the

facts surrounding past performance and activity and predictions for the future is strong evidence

that a debtor’s projections are flawed and the Plan is not feasible.” Id. (quoting F.H. Partners,

L.P. v. Inv. Co. of the Sw., Inc. (In re Inv. Co. of the Southwest, Inc.), 341 B.R. 298, 311 (B.A.P.

10th Cir. 2006) (internal quotation marks omitted). The debtor claims that “[t]he anticipated use

of the Property is different from the Debtor’s prior use and substantially reflects a new business

plan.” (Third Am. Discl. Stat., ECF No. 106 at 23.) Whether it is a new business plan or a




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rehashed version of the prior hospitality business plan, the plan is nonetheless based on pure

speculation and is likely to be followed by a liquidation or need for further reorganization.

       The debtor’s prior chapter 11 petition from 2008 was dismissed in 2012. That plan was

followed by a need for further reorganization (this case). During and since that case, the debtor

has failed to bring in the rental income that he projected in his previous plan ($14,400). In the

debtor’s 2008 bankruptcy case, the debtor proposed and argued that the Property would be used

in his hospitality business. After Chase moved for relief, the debtor filed a response suggesting

that the Property would be used for the debtor’s hospitality business and that it could generate

$2,000 per week as a vacation rental during the 12-week summer season for a total of $24,000.

(Dobie Decl. ¶ 12, Case No. 08-41984, Resp. to MFR, ECF No. 113.) The debtor argued this

$24,000 seasonal income was $10,000 more than the debtor’s conservative projections of income

of $1,200 per month rent or $14,400 per year. (Id.) The debtor also argued that the debtor

believed he could obtain a zoning change to allow for 60 boat slips on the property at a value of

$5,000 per slip. (Id.) Despite these assertions and representations, the Court granted Chase’s

motion for relief because the projections were speculative at best. (Dobie Decl. ¶ 13, Case No.

08-41984, Order dated Dec. 9, 2008, ECF No. 120.)

        There are no boat slips now. The debtor’s monthly operating reports from the start of

this case to present show that the debtor has earned rent receipts of $1,200.00 on August 26,

2013 (ECF No. 113) and $680 on March 17, 2014 (ECF No. 113). The debtor estimates that the

Property will have six events each year resulting in income of $48,000 as well as 10 weeks of

rentals at an average of $2,600 per week, for a total of $74,000 in rental income in year one.

(ECF No. 106, Section 8.) But there is no evidence of any event rental income. Unfortunately,




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the debtor has been unable to create the hospitality and event rental business over the past six

years. There is nothing in the record to suggest that will change now.

        Finally, if Chase’s secured claim is determined to be $890,000 (or the entire amount of its

proof of claim), there is not enough income to pay the Chase mortgage. Thus, because the

debtor’s intended use of the property is purely speculative and not feasible, reorganization with

the 4400 Deering Island property is not feasible.

IV.     Chase objects to the plan because the plan does not meet the best interests test of 11
        U.S.C. § 1129(a)(7).

        Under 11 U.S.C. § 1129(a)(7)(ii), each dissenting creditor must receive at least as much

as they would in a hypothetical liquidation. Because the plan does not provide Chase with the

present value of $890,000 (Dobie Decl. ¶ 2), Chase believes the plan does not satisfy the best

interests test.

V.      Chase objects to the plan for its unsecured claim because the plan violates the
        absolute priority rule of 11 U.S.C. § 1129(b)(2)(B)(ii).

        Chase believes that the classification of claims and the debtor’s retention of pre-petition

property violates the absolute priority rule of 11 U.S.C. Every unsecured creditor must be paid in

full before a debtor can retain “any property” under a plan. 11 U.S.C. § 1129(b)(2)(B)(ii); see

also Ice House Am. LLC v. Cardin, No. 13-5764, ___ F.3d ___, (6th Cir. May 13, 2014). The

Third Modified Plan of Reorganization provides that Class 8 is unimpaired and that all other

classes are impaired, including the unsecured claims. According to the debtor’s Amended

Schedules, the debtor has assets that he has not addressed in his plan. The debtor intends to

retain his interests in various businesses including Black Lake LLC, which he valued at $50,000,

One Mile Long LLC, which he valued at $1,000, and Regal One LLC, which he valued at




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$1,200. (Docket No. 40.) Thus, it appears that he will retain a significant amount of property in

violation of the absolute priority rule.



         JPMorgan Chase Bank National Association requests that the Court deny approval of the

Third Modified Plan.

Dated:      July 2, 2014                     USSET, WEINGARDEN & LIEBO, P.L.L.P.

                                                      By:    /s/ Kevin T. Dobie
                                                              Kevin T. Dobie #388322
                                                              Attorney for Creditor
                                                              4500 Park Glen Road, #300
                                                              Minneapolis, MN 55416
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                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF MINNESOTA
                                 MINNEAPOLIS DIVISION

In Re:
                                                                           Chapter 11
Donald Andrew Driggs                                                       Case No. 13-42355


                                                                     DECLARATION OF
                                                                      KEVIN T. DOBIE

                        Debtor.
______________________________________________________________________________


         I, KEVIN T. DOBIE, under the penalty of perjury states as follows:

         1.     Attached as Exhibit A is a true and correct copy of JPMorgan Chase Bank, National

Association’s appraisal of real property legally described as Government Lot 9, Section 18,

Township 117 North, Range 23 West of the Fifth Principal Meridian, Hennepin County, Minnesota,

and located at 4400 Deering Island, Orono, Minnesota.



         I hereby declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct.



Date: July 2, 2014

                                                    By: /s/ Kevin T. Dobie                    .
                                                         Kevin T. Dobie #388322
                                                         Attorney for Creditor
                                                         4500 Park Glen Road, #300
                                                         Minneapolis, MN 55416
                                                          (952) 925-6888
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                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MINNESOTA
                                MINNEAPOLIS DIVISION

In Re:
                                                                         Chapter 11
Donald Andrew Driggs                                                     Case No. 13-42355


                              Debtor.


                  UNSWORN DECLARATION FOR PROOF OF SERVICE


I, Darren A. Kachan, employed on this date by USSET, WEINGARDEN, & LIEBO, PLLP
attorney(s) licensed to practice law in this court, with office address of 4500 Park Glen Road,
Suite 300, Minneapolis, Minnesota 55416, upon penalty of perjury, declares that on July 2, 2014,
I served the annexed Objection to Third Modified Plan, via first class mail postage prepaid,
upon each of the entities named below:

Donald Andrew Driggs                                  Douglas Stone
P.O. Box 405                                          H & R Block
Spring Park, MN 55384                                 6312 Minnetonka Blvd.
                                                      St. Louis Park, MN 55416
A.J. Driggs
12135 13th Street NW
Spicer, MN 56288

And delivered by email notification under CM/ECF on the day e-filed with the court to each of
them as follows:

Sarah J. Wencil, Esq., Office of the United States Trustee
Joseph W. Dicker, Attorney for Debtor
Thomas Flynn, Attorney for Debtor

                                                             /s/ Darren A. Kachan
                                                               Darren A. Kachan




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